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                                UNITED STATES DISTRICT COURT

                               NORTHERN DISTRICT OF CALIFORNIA


 L.S., et al.,                                     Case No. 20-cv-04637-VC
                 Plaintiffs,
                                                   ORDER GRANTING MOTION TO
          v.                                       SEAL
 RICHARD HENDERSON,                                Re: Dkt. No. 26
                 Defendant.



        The motion to file the second amended complaint under seal is granted according to the

terms set forth in the order at Dkt. No. 25.

        IT IS SO ORDERED.

Dated: April 28, 2021
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge
